
PER CURIAM.
We granted review of Vega v. Independent Fire Insurance Co., 651 So.2d 743 (Fla. 5th DCA 1995), based upon the district court’s certification of conflict with the opinion in Fecht v. Makowski, 172 So.2d 468 (Fla. 3d DCA 1965). See Art. V, § 3(b)(4), Fla. Const. However, after hearing oral argument, we have determined that jurisdiction was improvidently granted. Accordingly, the petition for review is hereby dismissed.
It is so ordered.
GRIMES, C.J., and OVERTON, SHAW, KOGAN, HARDING, WELLS and ANSTEAD, JJ., concur.
